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                                                                                                                                        "·   ._._,




    IF IT'S HAP.PEN ED TO YOU WE WANT TO l<NOW.
    Please select one or more choices below.



     ~iscrimination or other harassment
         (Generally,Discritnination or Harassment can include threats, insults, jokes; unwelcome verbal comments or email, derogatory pictures or gestures or unwelcome physical
         conduct, bullying, retallatio n, discrimination or disrespect based on race, age, sexua l orientation, disability, ethnic group or any protected class status, Intimid ation, micro-
         aggress1 ons, exdusionary behavior and actions includ ing 'cliques' or 'cl ubs', preferential treatment, the feeling of having to ' prove' yo Urse If versus colleagues, pay or
         performance recoghltion .. CoUld include purposely ambiguous CFE feedback whether verbal or written, foci< of a clear and supported growth plan from manager, gender
         or diversity bias re lating to hiring, promoting, pay or performance rewards. Discrimination or harassment at work can happen inside or outsi de of th e wotk-pl ar.;e.)




     D Sexual harassment
         (G enerally, Sexual Harassment canincfude unwe lcome sexual advances 1 requests for sexua l favors, other'verbal or physical conduct of a sexual nature. Sexual harassment '
         at wot)< can happen inside or outside of t he work-place and can incl.Ude co~workers includ ing athletes, managers, vend ors and visitors.)




     IF YOU WOUlD Ll:KE TO SHARE MORE DETAlLS, PLEASE DO SO. OVER THE PAGE.                                 .   .                  ,,

    (lfyou are a Nike employee,Nike's harassment and anti-discrimination policy can be found here, https:l/riikebr.nike.com[ node/ 15978)




                                                                                                                                                                               ,.. EXHIBIT ~
                                                                                                                                                                                           570
                                                                                                                                                                                      Alison Daugherty
                                                                                                                                                                                          1/8/2021
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    'MY EXPERIENCE
    {lf you need more space, please photocopythis page or include additional attachments.as needed)
    Name (optional):


    Please share brief outline of your experience:


    Date/ locationifyou can remember:


    Oid you experience thiSsituation first hand?


    Were there anywitnesses?


    Do you have any hard evidence such as emails, photp's etc?.


    If not experienced first hand, then how was it,broughtto your attention?


    DidVOU report this experience.?
      •·
    If you reported it, wasit resolved?


     If you did not reportit; why did you make that decision?


    What impact has this experience had on you?
    (For example; career progression, physical health, psycho!oglcal health, other]


     Please in.clicate if you would lil<e to discuss and potentially elevate your expede.nce:




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           I wish to remain anonymous and will share examples of discrimination and harassment at Nike I have witnessed
           and/ or been onthe receiving end of:

                •    AGGRESSIVE BEHAVIOR: l witnessed a VP pound fist$ and $Cream to the point spit was coming outof hfs
                     mouth in 2016 in front of a group of 10 employees.
               ••    BULLYING: Everyone is scared to death of            .. Don't say anything contraryto what he says is the
                     unspoken rule. Unles,s you are one of his uboys". And if you are not In the lnner Circle, you are out.
                     iS most certalnfy dose if not already in this camp. She puts people down and make comments that
                     absolutely di.tninish infrcmtofothers t hen $tands up on stage and pretends $he is an advocate for
                     women.             is one ofthe worst .l eaders and a bully. She will yell and threaten others because
                     somebody on their team does not agree with her. It's been witnessed by HR time and time again and
                     nothing is done. Speaks under her breath, lies; and makes inappropriate comments. lfyou dare try to
                     s hare. a different POVto hers itwiil escalate so eve-ryone knows to shut their mouth for fearof the
                     consequence.
               •     INE.QU:ITYJNPAY: il have..asked twice. to have my salary reviewed in the. pastyear and a half, my boss says
                     that will happen but never follows through. 'I know fo r a fact! am underpaid.
               •     INAPPROPRIATE LANGUAGE~Male.S band and VP in apparel who call peopleyou,work wfth RETARDED,
                     calling a woman BlJCH to her face, calling women HONEY and GI.RLS.
               •     GENDER :BJASJN .HIRING: Bring!ngonfv men into consideration or apanel •because "the leader(male)
                     knows these guys" or "he goeswayback with so and so" or "they need more men on that team}'.
               •     RETALIATION :                       took down                       yea r end rating from HS to Sto send a
                     message that his decision to side with apparel on a topic was " not ok" Everyohe in merch knows he
                    ,earned an HS, hiS bos.s evenputit down but             wouldn't have it.         q uU a month or twolater.
                            bullied him and retaliated against anamazing merchant and now he is g0ne.
(
           I have twice reported hullying by a senior VP and HR said they would."take care of it".1 "we are coaching them".
           saved copies of my emails to HRand made notations through my personal computer athornein case I ever need
           to go back to these . It's the.first to do. I have friendswho have reported bullying. No .action was ever taken except
           a "we will talk to them".
           A few examples of sexuaFharassment at Nike :
               •    Men sloppy drunk putting their arms around a waitress and/ orfemaJe co-workers while on work travel.
               •    Meri trying to sleep with women In their function at lower levels byluring them in through the promise of
                    a "work dinner" to discuss their career or some project they were working on thatthese women might
                    want to be a partof.
               •    VP men Sleeping with/getting BJ's from women 1n t he. organization at much lowerband
               •    A good friend of mihe lsan aestheticjan ata medical spajn Portland and recently told me one of her
                    clients (she wouldnottell me hisname because of patient confidentiality} isa VP at Nike .and braggedto
                                                                   a
                    her about sleepingwith<afomaleemployeein clo$etatNike. AT WORK! DORING WORK HOURS!

          I have never reported any of this because it bas not happened to me personaHy but l. have seen and heard enough
          about it and honestly would.not ·e ven know where to turn he cause. it' sJust so common it's a ccepted as normaL
          Thatinitselfis the problem.

          ER and HR atthis company are a Joke, These groups have proven over and over thalthey are unreliable . There is
          terotransparencYwhich goesperfectlywith zero accountabllity.lt'& a disgrace ..                        fwas a well
          known sexual harasser.
                     ;:ind otherswere and are still well known philanderers With lower level employees Whomthev exert
          influence and power over. Who is.going to go up against these guys? Why would we report something when our
          company has a systemic andrepeated practice of not addressing appropriately? Only reason            is gone is
          because his wife emailed do,i:ens, ofnike employees his texts to         . His wife basically got hfm fired.




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            Matt Lauerwas removed from his positionin less than 72 hours afterthe reports came throl!gh of his harassment.
            Lulu Lemontookouttheir own CEO who had a multitude of !apsesinJudgment <:lnd wc1s perpetuat ing the "boys
            club culture" inc luding cocaine use and dating an employee while she received "financial benefit" because .of the
            relationship. MarketWateh published an article Feb 19, 2018about what theB0 companies that makeup the Dow
            industrials are doing to address Sexuahharassment claims. Commitments have been issued around transparency,
            re-issuing code ofethics, annuat trii!inings, andzern-tolerance p0Hcie5from many of the companies, Sadly Nike
            has yettorespond. I bet our board doesn'thave a clue about how had itis inside and outside the berm. I have to
            imaginenobody is being transparent with them. It's time for a change and for people to be held accountable at
            t he highest levels. We need to visibly see action is being taken or the culture will carry on as it has. No amount
            of train'lngs or video's or emails.from our CEO about culture and leadership will change this.

            Nike isa boys club .. Some.body recently posted onglassdoor.com regarding Nike "cons: boys dub, with frat,boy
            tVpe behavior that ls Ignored by mgmt." That is the truth. The network of men hold unwritten rules that define
            insider vs outsiders, They get to decide Who is succe.ssful and who iS not. Females atthis company have felt very
            little power to change a culture and environment that has been and co ntinues to he disrespectful towomen. Even
            women are disre;spectful to women without consequence. This company must lay a new foundation and it must
            start at the highest level of the organization. We need Nike to stand up for what is preaches ''EQUALITY"and start
            treating men and women the same. The METOO movement has given women an opportunity to step out of the
            shadows .a nd it has given them a massive dose of courage. SomebodyJs going to go public. It's Just a matter of
            time,. Get your act together Nike, We have had enough.




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